          Case 2:20-cv-01068-FLA-PVC                       Document 8              Filed 02/05/20       Page 1 of 1 Page ID
                                                                 #:26
 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)                                                                            CLEAR FORM
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 ATTORNEY(S) FOR: Plaintiff

                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
SHANNON SENSIBAUGH,                                                           CASE NUMBER:

individually and on behalf of all others                                                       2:20-cv-01068-MWF-PVC
                                                              Plaintiff(s),
                                     v.
EF EDUCATION FIRST, INC.,
                                                                                             CERTIFICATION AND NOTICE
                                                                                               OF INTERESTED PARTIES
                                                             Defendant(s)                          (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                                       Plaintiff
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                      PARTY                                                             CONNECTION / INTEREST
SHANNON SENSIBAUGH                                                            Plaintiff
EF EDUCATION FIRST, INC.                                                      Defendant
Hedin Hall LLP                                                                Counsel for Plaintiff
Frank S. Hedin                                                                Counsel for Plaintiff
Bursor & Fisher, P.A.                                                         Counsel for Plaintiff
L. Timothy Fisher                                                             Counsel for Plaintiff




         February 6, 2020                                  /s/ Frank S. Hedin
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Plaintiff


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
